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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                          NORTHERN DIVISION AT COVINGTON

 TIMOTHY GREGG,                                     :   CASE NO: 2:24-cv-00134-DCR
                                                    :
                 Plaintiff,                         :   JUDGE: Danny C. Reeves
                                                    :
         vs.                                        :   PARTIES’ JOINT STATUS REPORT
                                                    :
 ST. ELIZABETH MEDICAL CENTER,                      :
 INC.,                                              :
                                                    :
                 Defendant.                         :

       NOW COME the Parties, Timothy Gregg and St. Elizabeth Medical Center, Inc., and

hereby file their Joint Status Report in this matter.

       The Parties have been making progress in advancing the case. Each party has served upon

the other his/its responses to the other party’s first set of written discovery requests.

       The Parties anticipate oral discovery starting in April 2025. Further, the Parties have

discussed engaging a mediator at the completion of oral discovery, and prior to dispositive motion

briefing.



 Respectfully Submitted,

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 Counsel for Plaintiff


                                CERTIFICATE OF SERVICE

       I hereby certify that on April 7, 2025 the foregoing has been filed with the Court’s CM/ECF

system which shall electronically serve all counsel of record:



                                             /s/ Christopher Wiest
                                             Christopher Wiest (KBA 90725)




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